 A0245D             Case
             (Rev. 09/11)    4:98-cr-00091-SWW
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             Sheet 1

                                                                                                               EASTERN DISTRICT ARKANSAS

                                      UNITED STATES DISTRICT COURT                                                 SEP 2 0 2013
                                                 EASTERN DISTRICT OF ARKANSA                    JAMES W.
                                                                                               By:
          UNITED STATES OF AMERICA                                    Judgment in a Criminal Case---...K..~'Y.f----b,..,EP=-c""'L'"""E~R-K
                             v.                                       (For Revocation of Probation or Supervised Release)
                  FRANKIE WEBB

                                                                      Case No. 4:98cr00091-49 JMM
                                                                      USM No. 21477-009
                                                                       Molly Sullivan
                                                                                              Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)       General, Standard & Special of the term of supervision.
D was found in violation of condition(s)           - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                                       Nature of Violation                                     Violation Ended
General2                          Failure to refrain from possession of a controlled substance               08/27/2013

Standard 2                        Failure to submit Monthly reports                                       08/01/2013

Standard 5                        Failure to work at a lawful occupation                                  04/24/2013

Specia11                          Failure to complete residential reentry center                          04/25/2013
       The defendant is sentenced as provided in pages 2 through _ ___;;,3__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic cucumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 8893                   09/19/2013
                                                                                         Date of Imposition of Judgment
Defendant's Year of Birth:          1978
                                                                                         \.!\;\ ~9
City and State of Defendant's Residence:                                                       s·         fJ d    ~
Little Rock, Arkansas
                                                                      JAMES M. MOODY                               U.S. District Judge
                                                                                            Name and Title of Judge

                                                                      09/20/2013
                                                                                                      Date
AO 245D           Case
           (Rev. 09/11)     4:98-cr-00091-SWW
                        Judgment                               Document 1897
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           Sheet lA

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DEFENDANT: FRANKIE WEBB
CASE NUMBER: 4:98cr00091-49 JMM

                                               ADDITIONAL VIOLATIONS

                                                                                                               Violation
Violation Number            Nature of Violation                                                               Concluded
Special3                    Failure to submit urine specimens                                                 07/01/2013

Special5                    Failure to perform community service                                              09/18/2013
  AO 245D            Case
             (Rev. 09/11)     4:98-cr-00091-SWW
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             Sheet 2- Imprisonment

                                                                                               Judgment- Page      3     of       3
  DEFENDANT: FRANKIE WEBB
  CASE NUMBER: 4:98cr00091-49 JMM


                                                          IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of:
FOURTEEN (14) MONTHS




     t/ The court makes the following recommendations to the Bureau of Prisons:
The defendant shall obtain his GED.          .
The defendant shall serve his term of imprisonment in Forrest City, Arkansas



     0   The defendant is remanded to the custody of the United States Marshal.

     0   The defendant shall surrender to the United States Marshal for this district:
         0    at   --------- 0                    a.m.     0   p.m.       on
         0    as notified by the United States Marshal.

     0   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         0    before 2 p.m. on
         0    as notified by the United States Marshal.
         0    as notified by the Probation or Pretrial Services Office.

                                                               RETURN

 I have executed this judgment as follows:




         Defendant delivered on                                                    to

 at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                          UNITED STATES MARSHAL



                                                                      By ------~~~~~==~~~~~~------­
                                                                              DEPUTY UNITED STATES MARSHAL
